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                                     EXHIBIT INDEX



Exhibit I--Declaration of Michael D. Lieder

       Exhibit A—S&L Script to Potential Replacement Counsel

Exhibit II—Declaration of Susan M. Coler

       Exhibit B—Protective Order, Signed by the Court on July 14, 2003

       Exhibit C— S&L Letter to Plaintiffs, Dated September 27, 2004

Exhibit III—Declaration of Charles E. Lundberg

       Exhibit D—Cargill Letter to S&L of September 28, 2004

       Exhibit E—October 6, 2004 Email Exchange Between Klaas and Lundberg
